






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00341-CV






Robert Loiseau, Special Deputy Receiver  for American Benefit Plans, et al., Appellants (1)



v.



Team Link Corp., Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 53RD JUDICIAL DISTRICT


NO. GN304388, HONORABLE DARLENE BYRNE, JUDGE PRESIDING 






M E M O R A N D U M   O P I N I O N




	This appeal was abated to allow the parties to conduct settlement negotiations.  The
parties have informed us that they have now settled their dispute and move to dismiss the appeal. 
We grant the motion and dismiss the appeal.  See Tex. R. App. P. 42.2(a).



					                                                                                     

					W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices B. A. Smith and Puryear

Dismissed on Joint Motion

Filed:   November 4, 2004
1.        All of the appellants are enumerated in the judgment.


